











NO. 07-09-0097-CV

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL E

JULY 30, 2009

______________________________

IN THE INTEREST OF G.J.S., K.K.S. AND S.C.S, CHILDREN
_________________________________

FROM THE 242ND DISTRICT COURT OF HALE COUNTY;

NO. B30415-9906; HONORABLE ED SELF, JUDGE
_______________________________


Before CAMPBELL and HANCOCK, JJ., and BOYD, S.J.



MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Diane L. Martinez filed a notice of appeal from an order in a suit to modify
the parent-child relationship entered on March 26, 2009. The clerk's record was filed in this
Court on May 13. The reporter’s record was filed on May 29.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;By letter of July 14, we reminded appellant that her appellate brief was due no later
than June 29, 2009 and thus was past due. The letter notified appellant that her appeal
was subject to dismissal for want of prosecution unless her brief was filed, along with a
motion for extension of time, by July 24, 2009. See Tex. R. App. P. 38.6.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An appellate court may dismiss an appeal for want of prosecution if an appellant
fails to timely file a brief unless the appellant reasonably explains the failure and the
appellee is not significantly injured by the failure. Tex. R. App. P. 38.8(a)(1). On its own
motion, with ten days' notice to the parties, an appellate court may dismiss a civil appeal
for want of prosecution or a failure to comply with a notice from the clerk requiring a
response or other action within a specified time. Tex. R. App. P. 42.3(b), (c). Here, the
record reveals appellant has not filed a brief or a motion for extension by the date specified
by the Court, despite notice that her failure to do so would subject the appeal to dismissal.
We have given the parties the required ten days' notice.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss appellant's appeal for want of prosecution and failure to
comply with a notice from the Court. See Tex. R. App. P. 38.8(a)(1); 42.3(b), (c).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;James T. Campbell

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice








rim.App. 1985).  This right, however, must coexist and be
harmonized with the trial court’s interest in the efficient administration of justice through the
imposition of reasonable restrictions on the voir dire process.  Id.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends he was denied the right to assistance of counsel because the
trial court precluded him from questioning prospective jurors on the issues of a defendant’s
right to remain silent, the presumption of innocence, and the State’s burden of proof. 
Although Appellant attempts to frame this issue as a constitutional one based upon a
deprivation of an accused’s right to counsel, the gravamen of his complaint is that the trial
court precluded counsel from fully questioning prospective jurors concerning how their
verdict would be influenced if the defense “did nothing.”  After exchanging a convoluted
dialog with several prospective jurors


 concerning whether they could afford Appellant his
full constitutional rights, Appellant’s counsel moved to strike one juror, moved for a mistrial
due to a “contaminated jury pool,” and objected to the State’s additional voir dire of one
juror.  Each request was denied by the trial court.  At that point, the trial court stated, “All
right.  [Defense counsel] let’s move on to something else.”  The trial court never precluded
Appellant’s counsel from asking any specific question or exploring any area of the law and
counsel never made an objection based upon the trial court’s preclusion of questioning as
to any specific issue. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To preserve error on appeal, a party must make a timely, specific objection or
motion to the trial court that states the grounds for the ruling sought with sufficient
specificity and complies with the rules of evidence and procedure.  See Tex. R. App. P.
33.1(a).  If an argument is presented for the first time on appeal, it is waived.  Id.  See
Nelson v. State, 661S.W.2d 122 (Tex.Crim.App. 1983) (trial court s failure to give clarifying
instruction during voir dire).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s counsel neither made an objection premised on issue preclusion, 
submitted specific question(s) he was precluded from asking, nor filed a bill of exception. 
Accordingly, we overrule Appellant’s first issue.  See Barrett v. State, 516 S.W.2d 181, 182
(Tex.Crim.App. 1974).  See also Dhillon v. State, 138 S.W.3d 583, 587-88
(Tex.App.–Houston [14th Dist.] 2004, no pet.).  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evidentiary Objection
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant contends the trial court abused its discretion by permitting Deputy Pat
Hagemeier to testify on the State’s behalf by reading from a document admitted into
evidence during the punishment phase of Appellant’s trial.


  Having reviewed the record,



we have determined Appellant’s objections were made to Deputy Hagemeier’s testimony
related to the contents of State’s Exhibit Number 11.



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The manner and means of the presentation of documentary evidence to a jury is
best left to the sound discretion of a trial court.  Wheatfall v. State, 882 S.W.2d 829, 838
(Tex.Crim.App. 1994) (en banc), cert. denied, 513 U.S. 1086, 115 S. Ct. 742, 130 L. Ed. 2d
644 (1995).  Upon careful review of the record, we do not believe the trial court abused its
discretion in permitting Deputy Hagemeier to read portions of the admitted exhibit into
evidence.  Id. at 837-38.  Appellant’s second issue is overruled. 
Conclusion
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s judgment is affirmed.


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Patrick A. Pirtle 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice  

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